 

Case 3:12-cv-02472-JMM Document1 Filed 12/11/12 Page 1 of 12

IN ADMIRALTY

 

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Joseph Prout

CIVIL CASE NO: Bic ah) 2

 

 

 

 

 

(to be supplied by Clerk
of the District Court)
(Enter above the full name of
plaintiff en this action)
PUBLIC DEFENDER GEORGE H. MARGETAS
PTL Ben C. Martin, Scott FILED
McCabe, Asst. Da's Lynn Sun-- SCRANTON
day, Joshua E. Klien, Mag- DEC 11 2012
istérial Judges Ronald J. Has- Lie

 

kill, Richard T. Thomas : PER

(Enter above the full name of
the defendant(s) in this action)

DEP CLERK

 

COMPLAINT
1. The plaintiff Joseph Prout a citizen of
the County of Philadelphia State of

Pennsylvania, residing at SCI Laurel Highlands

wishes to file a complaint under Title 18 USC Tort Claim Fines Penalties
(give Title No. etc.)
and Damages involved in the violation of _commercial lien

2. The defendant is A natural freeborn sovereign individual

 

I -am not a fictitious corporation entity or surety for any
enslegis entity or public holder, using any fraudulent govern-
ment created upper case name.

3. STATEMENT OF CLAIM: (State below the facts of your case. If you have paper
exhibits that give further information of your case, attach them to this completed form. Use as

much space as you need. Attach extra sheet(s) if necessary) Constitutional impermissible
application of statutes
 

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BID BOND -

PAYMENT & Performance bond

ADMIRALTY BOND

As a matter of Fact: Participation in a commerial enterprise

 

under Color of Law, with co-business partners/co-conspirator's
Officers/Agents employees. Amounting to a deprivation of Rights
Under Color of Law and conspiracy against same, Treason, Fraud,
Assumption of debt etc.

CONSTITUTIONAL VIOLATIONS & CRIMES

1. "Obligation of Contract," Article 1, Section 10, Clause 1,

of the Constitution for the United States of America.

“2, "No Title of Nobility," Article I, Section 9, Clause 8 of the

tii

Constitution for the United States ofAmerica, and Sec-
ond Maxim of Commercial Law. "All are equal under the
Law" (no man is above moral and natural law).

Unalienable right to "due process of law," Bill of
Rights, 5th Amendment to the Constitution for the Unit-
ed States of America, and Second Maxim of Commercial
Law ("All are equal under the Law").

Unalienable right to "just compensation," 5th Amendment
to the Constitution,for .the United: States: of: America;

and Eirst Maxim of=Commercial iLawy."4 workman is. worthy
of his! hive” ("Thou shalt:inot steal")eu0 oy pars,

Unalienable right to "trial by jury," Bill of Rights,
7th Amendment to theConstitution, Eighth Maxim of Comm-
ercial Law: "A lien or claim be satisfied only through
rebuttal by affidavit point-for-point, resolution by
jury, or payment."

No usurpation of power, Article I, Section 9, Clause 8 (no
Title of Nobility), Article III, Section 3, Clause 1 & 2
(Treason), 6th, 7th, 9th, and 10th Amendments of the Constit-—
ution for the United States of America, and 7th Maxim
of Commercial Law: "Sacrifice is the measure of credib-
ility (no willingness to sacrifice = no liability, res-
ponsibility, authority, or measure of conviction).
 

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Affiant being a ‘Living, Breathing, Flesh-and Blood Man.
Who never had 'Full Disclosure’ and know it for the first time.

Is invoking his legal rights, remedies and recourses.

THAT, Affiant, has been dishonored by the judges, prosecu—
tor's and Attorneys, who has signed their names on "Commercial Pa-
per/Money Order,’ in regards to the 'Warrant/the Check,' that was
issued for Affiant's arrest. Are in violation of the "Green River

Ordinance."

THAT, Affiant's attorney's, after registering with the
Secretaryof State as foreigner, and bonding their positions, be-
cause they waived their citizenship in equity as a matter of by the

bar. Without ‘Clean Hands,' lead Affiant into "Dishonor"/Default

Judgment."

THAT, Without "Disclosure' to Affiant's parents/and or
doctor, that Affiant had Alienable Rights as being 'Sovereign,'
was dishonored in form and substance illegally, a commercial con-
tract, entered into making Affiant a ward of the state. Within
two weeks and three days the ‘Certificate of Affiant's Live Birth'
based on said application was delivered and filed in Washington D.

C., as a bonded instrument. Affiant was issued a Social Security
Card/CUSIP NO. 175480089

THAT, when the application of Live Birth of Affiant ’arriv—
ed at the Department of the Treasury in Washington D.C., Affiant's
Certificate was bonded, an account was .set up using Affiant's So-
cial Security Numer /CUSIP NO., funds were borrowed. Affiant's pa-
per credit was.invested in stocks and bonds and used for the Com-
mercial Activities of the United States (Corporated) now in recei-

vership.

THAT, the principle of law and equity of law Merchant is
the decision in all Courts; 7211 7 CFR says that all crimes are
Commercial. Kindnapping, bribery extortion, murder etc. are Com-

mercial crimes. ~--Admiralty Maritime Law.

THAT, Affiant's account is still open, and, the Holder-In-
Due-Course of the original account. Affiant's Birth Certificate
is a Security, the Straw man is the Surety, Affiant is the Princi-

pal on both sides of the account. The “Common Stock, the Preferr-
ed Stock, the Creditor." |

 
 
  
  

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IN suport for damand of relief affiant joseph prout avers the
following facts A CRIME IS A CONTRACT in which the transgressor
become indedted to his victim jin accordance to the terms of contret

(damages. requiring compensation)form by the crime,LIEN CLAIMANT
is damaged by LIEN DEBTORS false fraudulent unsubstantiated claims

AND CERTAINLY if they are enforced (as under color of law anéd
right) The terms, condition, and specific performance of the con-
tract are spelled out in the claim charges, counter charges and
affidavit exchanged between the parties thus forming a contract
which is offered accepted answered and contested. Unless Joseph
Prout has willfully harmed or violated someone or someone's pro-
perty without their consent, he has not committed any crime or
violation of any valid crime code and therefore is not subject to
any penalty and PRESENT PENNSYLVANIA CONSOLIDATED STATUTES,

Title 13 Commercial Code, SALES OF PERSONALTY all involved

are IN VIOLATION OF INTERNATIONAL MARITIME TRADE LAWS.

SEE EXZIBITS. A. B. C. D. E. F.

 
  

 

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3. (CONTINUED) _ FLESh-and Biood Man joseph Prout invokes his __

unalienable right to just compensation, 5th amendment to the

constitution to the united states of america and the first maxim

of COMMERCIAL LAW UCC for 18 month of delayed detention in the

amount of $ 300,000,00

 

 

 

 

 

 

4, WHEREFORE, plaintiff prays that this HONORBLE COURT GRANTS THIS CLAIM

FOR INJURY SUFFERED,LOST WAGES FROM HIS JOB AND RESTRAINT ON HIS

LIBERTY. WITHOUT PREJUDICE" UCC 1,308 ALL RIGHTS RESERVED,----------
NON-ASSUMPSIT

 

 

 

 

 

 

Lact?

ignatWre of Plaintiff)

   

 
   
  

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$f POLICE CRIMINAL COMPLAINT

 

 

 

 

 

Docket Nu.nber: Date Filed: OTNiLiveScan Complaint/incident Number
03/04/2011 20110304A0050
: N First: Middle: Last:
DefendantName | JosEPH PROUT

 

 

 

 

 

AFFIDAVIT of PROBABLE CAUSE

Your Affiant is Officer Ben Martin of the Carroll Township Police Department.

On Friday March 4, 2011 at 1335 hours your Affiant was dispatched to respond to the
Rite Aid Pharmacy located at 818.US RT 15 North in Carroll Township, York County, for a
sossible fraudulent prescription. Upon arrival Yous Affiant was advised by the Rite Aid
Shacmacy employee that a black male was attempting .to procure 120 pills of Oxycodone (30
ng}, which is a Schedule I controlled substance, with a altered/forged prescription.

The black male was stopped as he was leaving the store. The black male identified
himself as Joseph Prout from Philadelphia, PA. - During the investigation is was learned
that Prout obtained an altered and forged prescription from an unknown person. Prout
was attempting to use the altered/forged prescription to purchase the 120 pills of
oxycodone (30 mg).

The Pharmacist at Rite Aid verified that: the prescription handed in by Prout was in
fact a forgery after contacting the doctors office listed on the prescription.

 

I, PTL. BEN C. MARTIN (5318) , BEING DULY SWORN ACCORDING TO THE
LAW, DEPOSE AND SAY THAT THE FACTS SET FORTH IN THE FORGOING AFFIDAVIT ARE TRUE AND

CORRECT TO THE BEST OF MY KNOWLEDGE, INFORMAT!I@N, AND BELIEF.
| Dh Bur Yack ;

fA feu 3

/ fk (Signature of Affiant)

 

Sworn to me and subscribed before me this day of ,

 

 

 

 

 

 

 

Date , Magisterial District Judge
My commission expires first Monday of January,
SEAL
EXZIBITS. A
AOPC 411C - Rev 07/10 Page 1 of 1
 
 
 
 

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CARROLL TOWNSHIP POLICE DEPARTMENT Incident Investigation Report
~ ORI: PAQ674600 20110304A0050 (A)
Incident Data
Class (UCR) Code: 1090 FORGERY & COUNTERFEITING -REPORTS Complete
Crimes Code; Title:35 ~- 780-113 Al2
Date/Time Reported: 03/04/2011 Friday 13:35

Discovered Date/Time:

Last Known Secure :

TIME - Received: 13:35 / Dispatched: 13:35 / Arrived: 13:40 / Cleared:

Badge: 5318 - PTL. BEN C. MARTIN

Address: 818 RT.15 NORTH HWY - DILLSBURG
Landmark: RITE AID PHARMACY
Patrol Zone: A - CARROLL TOWNSHIP
Premise Type: PHARMACY

BIAS: 88 NONE (NO BIAS)

MO:
Weapon/Tools:NONE Additional weapon:

Persons Involved
Number of Victims: 0 Number of Offenders: 1 Persons Involved; 4

 

 

OFFENDER PROUT, JOSEPH {(NP026462)
Incident Classif.: 1090 FORGERY & COUNTERFEITING -REPORTS
How Charged: ARRESTED Disposition:
Arrest Date: 03/04/2011
Type; INDIVIDUAL/PERSON (NOT L.E,OFFICER) Injury: NO INJURY

Age/DOB: 46 11/30/1964 Race: B Sex: M Ethnic: N Marital: U Resdne: J
SS#: XXX-XX-XXXX
Height: 507 Weight: 160 Bye: BRO Hair: GRY Build: THI Compl.:; LIGHT

GBM ID number: Date Entered: / f Date Released: / f
- Comment: SUSPENDED/PHOTO ID
OLN/STATE: 24066067 /PA

Drug/Alcohol Use: D Computer Use; N

Home: 5715 N. 19TH ST. Home Phone:

PHILADELPHIA PA 19141
Work Phone: EXT: Cell Phone: 267-588-3667 Pager:
Employer:

DOCUMENTS ON FILE:
- Arrest Report - Criminal Complaint - Fingerprint Card
Arrest Report
Arrest. #:20110304 03/04/2011 FORGERY & COUNTERFEITING ~RBPORTS

 

 

EXZIBIT. B
Officer: PTL, BEN C, MARTIN Badge: 5318 Page: i
Case Status: CLOSED/CLEARED Case Dispositlon:CLEARED BY ARREST

Disposition Date: 03/04/2011

 

Date Printed:08 March 2011 13:17 By: Gene Bapilsti

 

 

 
 
     

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Magisterial District Judge 1 9-3-10

Docket Number: MJ-1931 0-CR-0000045-2011
-Criminal Docket
Commonwealth of Pennsylvania

Vv

Joseph Prout .
. Page 2 of 3

  

Prout, Joseph ,
41/30/1964

Date of Birth:
Address(es):

Primary
Philadelphia, PA 191 41

 

No ”
Yes ,

Advised of His Right to Apply for Assignment of Counsel?
Public Defender Requested by the Defendant?

Application Provided for Appointment of Public Defender? — . Yes
‘Has the Defendant Been Fingerprinted? oe Yes

 

   

    

Participant Type Participant Name ~
Arresting Officer : Martin, Ben Charles
Defendant Prout, Joseph
Affiant — , , Ptlm Ben Martin

   
  

‘Bafti Set:
Bail Action Type Bail Action Date | Bail Type : Percentage Amount
’ Monetary $100,000.00

 

  
  
 

 
 
 
  

 
 
 
   
  

Set 03/04/2011

  
   

 

Charge - : : Grade Description , : Offense Dt. Disposition

 

#

1 35 § 780-113 §§ Al2 EF. Acq Or Obt Poss Of Contr Subs Misre 03/04/2011 Held for Court
2 18§ 4101 §§ Al Forgery -.Alter Writing . a 03/04/2011 Held for Court
3 18§ 901 §§A - ATTEMPT FORGERY - ALTER WRITING 03/04/2011 Held for Court
4:63 § 390-8 §§ 131. M Procure For Self/Other Drug By Fraud 03/04/2011 Held for Court

   
 
 

Disposition Date - Was Defendant Present?

 

 

 

Case. Disposition
Held for Court 04/25/2011 Yes
* Offense Sea./Description Offense Disposition

1 Acq Or Obt Poss Of Contr Subs Misre Held for Court

2 Forgery - Alter Writing Held for Court

3 ATTEMPT FORGERY - ALTER WRITING Held for Court

4 Procure For Self/Other Drug By Fraud . Held for Court

EXZIBIT. C
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MDJS 1200

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets. Neither the courts of the Unified Judicial System of.

the Commonwealth of Pennsyivania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data, errors or

omissions on these docket sheets. Docket sheet information should not be used in place of a criminal history background check, which can only be
provided by the Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.c.s.
Section 9101 et seq.) may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

 
      

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Bonds otherwise prohibited not legalized

No person or persons shall have power, by virtue of this act, to make, issue, or give out, any
bonds, specialties or notes, by themselves or servants, than such as they might have made, issued,
and given out, if this act had never been made.

HISTORY
Act 1715-207, 1 Sm.L. 90, § 7, approved May 28, 1715, eff. immediately.

§ 37  Assignors not to release after assignment

It shall not be in the power of the assignors, after assignment made as aforesaid, to release
any of the debts or sums of money really due by the said bonds, specialties or notes.

HISTORY
Act 1715-207, 1 Sm.L. 90, § 9, approved May 28, 1715, eff. immediately.

EXZIBIT .D

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7. 42 P.L.E. SALES OF PERSONALTY § 297, Pennsylvania Law Encyclopedia,
Measure of Damages, Copyright 2011, Matthew Bender & Company, Inc., a member of
the LexisNexis Group.

§ 2722 Who can sue third parties for injury to goods.

Where a third party so deals with goods which have been identified to a contract for sale as
to cause actionable injury to a party to that contract:

(1) A right of action against the third party is in either party to the contract for sale who
has title to or a security interest or a special property or an insurable interest in the goods; and if
the goods have been destroyed or converted a right of action is also in the party who either bore
the risk of loss under the contract for sale or has since the injury assumed that risk as against the
other.

(2) If at the time of the injury the party plaintiff did not bear the risk of loss as against
the other party to the contract for sale and there is no arrangement between them for disposition
of the recovery, his suit or settlement is, subject to his own interest, as a fiduciary for the other
party to the contract.

(3) Either party may with the consent of the other sue for the benefit of whom it may
concern.

EXZIBIT. E

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CHAPTER 5 STATE AND CORPORATION BONDS

§ 51 to 54 Repealed. 1953, April 6, P.L. 3, § 10-102, eff. 12:01 A.M., July 1, 1954
§ 55 Reduction of interest on callable state bonds in lieu of redemption

§51to54 Repealed. 1953, April 6, P.L. 3, § 10-102, eff. 12:01 A.M., July 1, 1954

§ 55 Reduction of interest on callable state bonds in lieu of redemption

The Governor, the Auditor General, and the State Treasurer, upon such terms as they may
deem to the best interests of the Commonwealth and under such conditions as they may specify,
may reduce the rate of interest payable upon any outstanding callable bond of the Commonwealth
of Pennsylvania in lieu of redeeming such bond in accordance with the terms thereof, upon any
date upon which said bond may be called for redemption: Provided, That such reduction of
interest rate is consented to by the holder of the said bond. In the event the interest rate on any
such bond is reduced as aforesaid, said bond shall forthwith be presented to the duly authorized
loan and transfer agent of the Commonwealth, which shall endorse upon the face of the said bond
a proper notation evidencing the said reduction of interest rate, and as to any such bond as may
be in coupon form shall affix thereto, in place of the original coupons not then due and payable,
proper interest coupons evidencing the said reduction of interest rate.

HISTORY

EXZIBIT .F

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Case 3

 
